Case 1:17-cv-02733-PKC-ST Document 1-1 Filed 05/05/17 Page 1 of 13 PageID #: 6




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    Case 1:17-cv-02733-PKC-ST Document 1-1 Filed 05/05/17 Page 11 of 13 PageID #: 16
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               SUPRE}'E CÕURÎ OF THä STATE CIF NE!ü ]:ORK
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               CHåRLES LTGGTNSf

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                                        Attorney (s) for Þ.Lai.nbíff
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